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UNITED STATES DISTRICT COURT FiLED B`i'

FOR THE : 25
WESTERN DISTRICT 0F TENNESSEE 21165 AUG i':') lift iO

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UNlTED STATES OF AMERICA ) ill
)
vs. )
) CR. NO. 05-20037-]3
cEDRlc BRooKs, )

APPLICAT|ON. ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

Kevin Ritz, Assistant United States Attorney applies to the Court for a Writ to have Cedric
Brooks, R&| # 97279, DOB 9122!1964, now being detained at the Shelby Cou nty Correctiona|
Center, Memphis, Tennessee, to appear before the Honorable U.S. Magistrate Judge Thomas
S. Anderson, August July 18, 2005, at 2:00 p.m., an initial appearance and for such other
appearances as this Court may direct.

Respectfully submitted this 15th day of August, 2005.

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Assistant U. S. Attorney

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Upon consideration of the foregoing App|ication,
DAV|D G. JOLLEY, U.S. MARSHAL, WESTERN DlsTRlcT oF TENNEssEE, MEMPHls, TN AND

GEORGE LlTTLE, WARDEN.

‘|'OU ARE HEREBY COMMANDED to have CEDR|C BROOKS, appear before the HONORABLE U.S.

MAG|STRATE JUDGE THOMAS S. ANDERSON on the date and time aforementioned

ENTERED this l,) day of Z\_\_Yg'~_>)'i ,2005.

 

U.S. MAGISTRATE JUDGE

This document entered on the docket Sheet lrl compliance

with mile 35 ami/or 32(b) Fncrr-" on J’“ /=2'05

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This notice confirms a copy of the document docketed as number 5 in
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Lorraine Craig

U.S. ATTORNEY'S OFFICE
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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

